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                                IN TIIE UMTED STATES DISTRICT COURT
                                 x'oR rHE WESTERN DIsrRIcr oF rEx{ll¡                 pil 3: 09
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                                           AUSTINDTVISION
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     EMTEL, INC.; JOSEPH DEGIOANM, M.D.; and                                             BY
                                                                                                             il! r :; I i
     BRAZOS EMERGENCY PHYSICIANS
    ASSOCIATION, P.A.,
                                           Appellants,

    -vs-                                                                           Case       No. A-11-CA-399-SS

    PATRICK G. WOODS, M.D.; DIANA FITE'
    M.D.; STEVE MATTI, M.D.; LEEOR PELEG'
    D.O.; GEORGE SIMONS, D.O.; and UMTED
    STATES TRUSTEE . A\JTa,
                          Appellees.



                                                         ORDER

                 BE IT REMEMBERED on the 3 Oth day of June 201 1, the Court held a heæing in the above-


    styled cause, specifically to consider Appellants Emtel, Inc., Joseph Degioanni, M.D., and Brazos


    Emergency Physicians Association, P.A. (collectively "BEPA")'s appeal of the order of the United


    States Bankruptcy Court for the Western Dishict of Texas, specifically the February 15,20l1Order


    Granting Motion to Dismiss and dismissing the bankruptcy case concluding that it wæ filed in bad

    faith. At the oral      argument before tåis Court, all parties were represented by counsel. After

    considering the arguments of counsel at the hearing, the parties' briefs, the appellate record, the cæe


    file   as   awhole and the applicable law, the Court enters the following opinion and order.

                                                       Background

                This case involves a long-running business dispute among physicians. Prior to BEPA seeking

    protection under Chapter      1 1,   it wæ under two, successive receiverships in state court extending from


    2004-early 2010 while its dircctors, former employees, and other parties in interest brought claims




                                                                                               EXHIBIT 1
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     and counterclaims against each other in two separate state court cases. Specifically, Appellees have


     been pursuing claims against Dr. Degioanni, BEPA's original president, and Emtel, Inc., a company


    Degioanni also owns. Appellees essentially believe Degioanni has been siphoning money out                of

    BEPA ttnough Emtel. Two state court lawsuits were filed as a result of that dispute: (1)     a   derivative

    action filed by Dr. Woods, and in which Dr. Fite and the other Appellees later intervened                as


    additional derivative plaintiffs, styled Dr. Patrick G. Woods vs.Joseph Degioanni, Emtel, Inc., and

    Brazos Emergency PhysiciansAssociatíon, P.1., CauseNo.2003-53712, inthe 334thDistrictCourt


    of Hanis County, Texas, and (2) a suit styled Entel, Inc., et al. vs. Medþrd Cashion, MD, et al.,

    Cause No. 2003-69942,     in the 152nd Judicial Disfrict Court of Hanis County, Texas, which Dr.

    Degioanni filedagainstBEPA's otherdirectors afteïtheyvoted to remove him          as   BEPA'spresident.

    At   a heæing on other matters   in that suit, the parties decided to ask the dishict court to appoint a

    receiver for BEPA.

             BEPA had operated as debtor-in-possession from the time of      filing onWarch22,       2010. On


    May t l, 2010, BEPA filed an adversary proceeding against Appellees seeking a declaratory

    judgrnent with regard to the ownership of claims brought in state court as shareholder derivative


    claims. Appellees, on June 2g,20l0,after receiving an extension of time to file, filed a motion to

    dismiss the adversary proceeding and simultaneously filed a motion to dismiss the bankruptcy for


    bad faith. The bankruptcy court conducted an exhaustive evidentiary hearing over the course         oftwo

    firll days-August 27,2010 and September23,20l0.Bar¡lc. Dkt. # 130, 131. After some.delay,the

    bankruptcy court dismissed the case orally on February 11,2011 and issued a written order on

    February 15, 201   l.
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                  The bankruptcy court dismissed BEPA's Chapter 11 case due 1o bad faith. The court found

     (I   )   'the only purpose for filing was to gain control of the litigation in the state court proceedings and

     force an outcome;" (2) insufficient evidence that BEPA                      will be unable to function without

     bankruptcy; (3) the creditor body is limited and most claims are held by insiders or affiliates; (4)

     detemrination ofmostofthe issuesrelatedtothis case are alreadypendinginstate courtandproperþ


     belong there; (5) there is no proof that dismissal           will result in ttre end of BEPA, and (6) there was

     no legitimate fïnancial pressure on BEPA to seek bankruptcy protection. In short, the bankruptcy


     court found the financial issues involved in the state court litigation were not the cause of the filing,


     rather it was.'the animosity between the respective doctors.o' Tr. at27-28.


                                                            Analysis

     I.          IssuePresentedonAppeal

                 Appellants present one issue on appeal: did the bankruptcy court abuse its discretion by

    dismissing the bankruptcy case of BEPA on the grounds that it was filed in bad faith? BEPA argues


    the Bankruptcy Court clearly ened when              it found the primary purpose of BEPA's bankuptcy                    case


    was to gain control      ofthe   state court litigation and force a favorable outcome. Rather, BEPA asserts


    it wæ fi¡rctionally insolvent and was on an unsustainable course. BEPA also argues the bankruptcy

    court failed to account for BEPA's competency operating as debtor-in-possession for nemly                           a   year

    from filing until dismissal. BEPA also asserts the court should h¿ve allowed the case to proceed to

    a confinnation hearing before evaluating whettrer the plan was proposed in bad faith.t




                 IBEPA
                      also asserts appelleeswaitedtoo longto requestdismissal. There is no explicitdeadlineto file amotion
    to dismiss a banlcruptcy case. See  ll  U.S.C. $ 1l12. In addition, Appellants never opposed dismissal on the basis of
    tardinessandthushavewaivedthisargumenton           appeaL See InreCommodity ExchangeSewices Co.,67 8.R.313,315
    (N,D. Tex. I 986) ('As an appellate court in this[bankruptcy] matter, the Couf will not consider this issue which is raised
    for the fust time on appeal.").


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     il.     Standards of Review

             This appeal is taken pursuant to 28 U.S.C. $ 158(a). In such an appeal, "[a] bankruptcy

     court's furdings offact æe reviewed under the cleæly enoneous standæd, and its conclusions of law

     are reviewed de       novo." In re El Poso ReJìnery,   l7l   F   .3d249, 253 (5th Cir. 1999). The bankruptcy

     court's determinationthatBEPAfïled its bankruptcypetitionin badfaith is afindingoffactthatthis

     Court reviews only for clear enor. See Inre Humble Place Joint Venture,936F.zdSl{ 816 (5th Cir.


     1991) ('We review the bankruptcy court's decision to dismiss for abuse of discretion, reversing its


     findings of fact only ifthey were clearly enoneous. The court's finding that Humble Place's Chapter

     I 1 petition wæ not filed 'in good faith' is one of fact.'). A finding of fact is cleæly enoneous wher¡


     although there is evidence to support it, the reviewing Court is left with the definitive and firm

     conviction that   a   mistake was committed after reviewing all the evidence . Flint Hills         Res.   LP v. Jag

    Energt, únc.,559 F.3d373,375 (5th Cir. 2009).

            A.         Bad Faith

            The filing of a bankruptcy petition in bad faith constitutes a valid bæis for dismissal of the

    petition under l1 U.S.C. $ 1112. See In re Mirant Corp.,No. A3-46590,2005 WL 2148362, at*5

    (Bankr. N.D. Tex. Jan.26,2005). ("Lack of good faith is not one of the enumerated examples in

    section I I l2(b ), but many courts have held that lack of good         faitl   is appropriate cause for dismissal


    underthat section."); Inre Little CreekDev, Co.,779 F.2d 1068, 1072(sthcir. 1986) (notingthat

    dismissals pursuant to $ 1112(b) may be predicated upon "[flindings of lack of good faith').


            The factors employed in the Fifth Circuit in determining whether a bankruptcy case is filed


    in bad faith axe set forth in the Lìttle Creek cæe. Little Creek Development Co. v. Commonwealth

    Mortgage Corp. Qn re Little Creek Development Co.),779 F.2d 1068 (5th Cir. 1986). There, the


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     Fifth Circuit held, "[flindings of lack of good faith in proceedings based on $$ 362(d) or l1l2(b)

     have been predicated on certain recuning but non-exclusive pattems, and they are based on a

     conglomerate of factors rather than one any single datum.o' Id. at 1072.T\e Court then listed a series


     of factors which are typicallypresent in bad faith filings:     (l)   the debtor h,as only one asset such æ


     a   tact of land; (2) the debtor has few unsecured creditors whose claims       are small in relation to the


     claims of the secwed creditors; (3) ttre debtor hæ few employees; (4) the debtor's property is the

     subject of a foreclosure action as a result of arearages on the debt; (5) the timing of the debtor's


     fiüng evidences an attempt to delay or frustate the legitimate efforts of Debtor's secured creditor

     to enforce its rights; (6) there are allegations of wongdoing by the debtors or its principals. /d. at

     1073. These æe not the only factors to be considered, because'1åe existence ofgood faith depends


    on an amalgam of factors and not upon a specific fact. The bankruptcy court should ex-amine the


    debtor's financial status, motives, and the local economic environment. . . . Good faith is lacking

    only when the debtor's actions are a clear abuse of the bankruptcy prccess." Idaho v. Arnold (In re

    Arnold), 806 F.2d     937   ,   939 (9th Cir. 1986) (citing, in part, Little Creek, but internal citations

    omitted).

              B.     Bankruptcy Court Findings

              The ba*ruptcycourtconcludedthat BEPA filed its bankruptcypetition inbad faithbecause


    the petition was an obvious "litigation tactic" calculated to "second-guess what the State Cor¡rts


    have . . . done" in adjudicating Appellees' right to control the claims they prosecute derivatively on


    BEPA's behalf. Bankr. Tr. at28-29. The court continued, stating "the petition here was not filed in

    good faith to effectuate reorganizatton Rather it was filed in an attempt to wrest conhol of litigation


    away from the state court." Id. at30.


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              Merely obtaining     a   litigation advantage   by pursuing   bankuptcy       is not dispositive   ofbad faith,

     but when a bankruptcy court finds a party pwsues bankruptcyþr the purpose of securing a litigation


     advantage    in another forum, such intent is dispositive: it establishes bad faith and necessitates

     dismissal. See, e.9., In re Silberlvaus,2Í3 B.R. 890, 905 (Bankr. C.D. Cat. 2000)                   ('[]t   constitutes

     bad faith to file bankruptcy to impede, delay, forum shop, or obtain a tactical advantage regarding


     litigation ongoing in nonbankruptcy forum . . . .'). This is what the bankruptcy court found in this

     case-BEPA filed its bankruptcy petition for the purpose ofobtaining                a   litigation advantage. Indeed,

     there is sufficient evidence BEPA sought bankruptcy protection in order to take contol of the

     derivative claims Appellees are pursuing in the state court litigation and settle those claims for a

     minimal amount tl¡e receivership court had refused to approve.2

             During the course of a two-day hearing, BEPA presented evidence to try to refi¡te this

    conclusion. However, as the banlruptcy court noted, its æguments and evidence were simply a

    repeat ofprevious arguments BEPA made, and lost, in state court. Bankr. Tr. at 28. Other than copies


    of its own bankruptcy pleadings, virhrally every exhibit BEPA offered into evidence at the heæing

    on Appellees' motion to dismiss was also an exhibit that BEPA submitted to the state court in

    support of its various unsuccessful motions to disqualify Dr. Fite and Dr. Woods as derivative

    plaintiffs and take conhol oftheir claims. Ex. 5 I . The bankruptcy court properly determined that this

    constituted bad faith necessitating dismissal.

             The bankruptcy court fi¡rther predicated its determination that BEPA filed its bankuptcy

    petition in bad faith on the factual determination that BEPA's financial condition did not wanant




             2lndeed,
                       if the derivative claims against Degioanni were wiped out, the counterclaims against appellees would
    remain, so filing banlcuptcy gives Degioanni the chance to win nvice.

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                                                                           o'orchestrated
     bankruptcy protection and that BEPA's request for sueh protection was                without any

     creditor pressure." Bankr. Tr. at 28. "We have no foreclosures pending. We                        have any
                                                                                              fonl
     tlueatened action against Debtors.'o      Id   Appellants direct the Court to no evidence showing this

     conclusion was clear enor. Instead, Appellants offer only assertions that BEPA was "functionally

     insolvenf' when it filed for bankruptcy and that it "owed approximately      $ 130,401 .97 to   non-insider

     creditorso'which     it'bould not   reasonably pay." App. Br., at 10, 16. In reality, as discussed below,


     the evidence establishes the contrary and supports the decision ofthe bankruptcy court.


                BEPA's Statement of Financial Aflairs indicates, in the tluee years preceding its bankruptcy

    filing, BEPA's yearly revenues increased by approximately $200,000. Ex. 7, Statement of Financial

    Afilairs. The monthly reports BEPA filed since initiating the bankruptcy demonstrate BEPA has

    turned a profrt since filing its bankruptcy petition. Exs. 14-16. According to its Claims Register,

    BEPA hæ extremely limited secured debt, consisting          of   $28,546.15 to Texas Citizens Bank, and


    $77.64 to Hanis County. The non-insider unsecured claims are limited to: Intemal Revenue Service


    $1,000.00; Chamberlain Flrdlicka ï49,306.76; Manhall             & McCracken, PC $43,815.00; Moore,

    Reichl & Baker, PC $3,184.94; and James Ferguson, NID $4,471,48. Bankr. Dl<t. #26.

                The only other alleged financial pressure Appellants claim BEPA faces is "$900,000 in fees


    that   it   would owe to its former Receivet," James Raymond. App. Br., at 10. As Appellees

    acknowledgeo however, under long-est¿blished Texas law, any fees to which the Receiver might be


    entitledmustbe approvedbythe courtthat appointedhim. App. Br., at10; see e.g.,Taylorv. Taylor,

    9l   S.W.2d 394,3g8 (Tex. Civ. App.-Amarillo 1936, no wriQ. ln addition, the petition listed

    Degioanni and Emtel æ BEPA's largest creditors (despite ttre original derivative suit claiming

    Degioanni and Emtel had misappropriated millions from BEPA). Of the total unsecured claims               of


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     $895,290.39, Degioanni and Emtel claimed to own $83 8,327 .21 (93.64% ofthe unsecured debt used

     to   justifybankruptcy filing). As the bankruptcy court indicated, "ifyouexftact all the insider claims,

     and all the contested claims, the unsecured debt in this case is less than $100,000. Thus, it is clear


     ttnt the bankruptcy court did not en in finding 'the financial issues that   æe   involved in this litigation

     are   notthe cause ofthe Chapter 1 I filing. It's the animosity between the respective doctors." Bankr.

     h.at28.

               Appellants assert'oeven   a   cursory review ofthe historyofeightyearsofstate court litigation"


     demonstates that BEPA did not file bankruptcy to "gain a litigation advantage." App. Br. at 13.

     However, a full review of the history of the state court litigation shows by attempting to deprive

     Appellees of standing and to settle the state court case, which settlement was not approved in the

     state court case, the Appellants were cert¿inly seeking a litigation advantage in        filing, and in fact

    there is no other legitimate explanation for the filing, considering the lack of financial pressure.


              Appellants respond claiming "BEPA has not and will not attempt to remove the state court

    litigation to bankruptcy court." App. Br. 15. As the Court explained above, this is inelevant. There

    wouldbenoneedto remove the state courtlitigationto bankruptcy courtifBEPAsucceeds intaking

    contol ofthe derivative     case. Finally, Appellants insist "BEPA has the abilrty to effectuate aplan


    of reorganization." App. Br., at 15. The bankruptcy court found there was "really no reorganization

    process to undertake     in this case . . . þecause] the petition here was not filed in good faith to

    effectuate reorganization." Bankr. Tr. at 30. The Court has little doubt BEPA could implement its

    proposed plan ofreorganization ifthe bankruptcy court permitted it to do so. However, the mere fact


    that a bankruptcypetitioner is capable of carryingout aplan ofreorganization inno wayestablishes


    that its petition for permission ofthe bankruptcy court to do so is in good faith. Here, the bankruptcy


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     court found BEPA was asking for its plan to be implemented simply so ttrat it could take control     of

     tlre derivative claims and settle them cheaply. Id. at 28-30. Thus, BEPA's ability to eflectuate its


     reorganization plan,     far from establishing BEPA's good faitþ rather demonstrates it         sought

     bankruptcy protection in bad faith to secure a litigation advantage in state court proceedings.

             In short, the record shows no legitimate reason for BEPA to seek banlauptcy. Instead, it is

     cleæ the banlauptcy was sought solely to gain control of litigation pending in the state court. Thus,


     the bankruptcy court did not en in dismissing the case due to bad faith     filing.

             C.      BEPA's Survival

             Appellants pTesent one fruther argument based on an alleged legal conclusion of the

     bankruptcy court. In short, they ægue the bankruptcy court ened in dismissing the bankruptcy since


     the court also recognized BEPA would not survive the st¿te court litigation. Specifïcally the

    bankruptcy court st¿ted:


             ftlhere's little, if any, proof that dismissal of this case will result in the end of
             BEPA. While Iheardassertionsto thateffect,Ifurdürattheevidence isunconvincing
             or unavailing that it's the bankruptcy case, if it's dismissed, that will cause the
             demise of BEPA. Gentlemen, the demise of BEFA is going to be caused by the State
             Court litigation, which has been ongoing for many years.

    T.   at27-28. Appellants note there is some authority that where a court knows that a debtor would

    not survive litigation   if   a bankruptcy case was dismissed, dismissal is an abuse of discretion.,Se¿


    lllynco Distributors, Inc.        v.   Wynn   (In re Wynco Distributors, Inc.), 126 B.R.     l3t,   134


    @anla.D.Mass. 1991).

            There is also authority, however, that when apafiy pursues bantcruptcy for the purpose       of

    securing a litigation advantage        in   another forum, this intent alone establishes bad faith and




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      necessitates dismissal, regardless of a debtor's likelihood of survival in other litigation. See e.g.,            In

     re Silberltrøus,2s3 B.R. 890, 905 (Bankr. C.D. Cal. 2000).

               Itis uncleæwhythe bankruptcycourt      made the second part ofthe above statement, however


     in ttre context ofthe hanscript as a whole, it appears simply to be more of an editorial comment from


     the court on the fact that there have been over eight years      oflitigation in    state court ongoing, and so


     if   BEPA does eventually cease to exist,      it will not       be because   it   goes bankrupt, but due to

     unfavprable state court decisions. There is legal authority on both sides               ofthis   issue, none   ofit

     binding on this court or the bankruptcy court. Thus, the Court cannot say this single comment by the

     bankruptcy court indicates an abuse of discretion in the bankruptcy court's application of the law.

                                                   Conclusion

               There is evidence in the record ofbad faith and evidence against such a finding, but the

     bankruptcy court did not clearly en in finding bad faith. Instead the court was persuaded the main

     purpose of the filing was to gain a litigation advantage and the filing wæ orchestrated without any


     creditorpressure. This constitutes sufficient bad faith to warrant dismissal and ttre bankruptcy court

     did not en in finding as much. Thus, in accordance with the foregoing:

                         IT IS ORDERED that the order of the United States Banlauptcy Court for the

              Western Dishict     of   Texas dismissing BEPA's bankruptcy               in   case   No.   10.10737 is

              AFFIRMED.

              SIGNED this the     fuË*rof      August 201    l.




                                                                  SAM SPARKS
                                                              IJNITED STATES                              JUDGE



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